Case 2:05-cr-20160-.]DB Document 54 Filed 08/31/05 Page 1 of 2 Page|D 45

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IN THE UNITED sTATEs DISTRICT CoURT F“-ED BY --"-"
FoR THE WESTERN DISTRICT oF TENNESSEE t 39
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UNITED STATES OF AMERICA

V- 05-20160-B

PHILLIP STAFFORD

 

ORDER ON ARRAIGNMENT
SUPERSEDING INDICTMENT

This cause came to be heard on 03 ' 31 ~05 , the United States Attorney

for this district appeared on behalf of the govemment, and the defendant appeared in person and With
counsel:

NAME fifty meyng Who is Retained/Appointed.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a Distiict Judge, such period is extended

The defendant, Who is not in custody, may stand on his present bond.

l f | he defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

5 am @_

UNITEI) sTATEs M‘F(GISTRATE JUDGE

CHARGES: 21 :841; 21:846; 21 :843; 18:924(0); 18:922(g);
U. S. Attomey assigned to Case: S. Leary

Age:`§\'l

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 54 in
case 2:05-CR-20160 Was distributed by faX, mail, or direct printing on
September 1, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

